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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 BILLITTERI v. SECURITIES                      §
 AMERICA, INC., et al. (Provident              §
 Royalties Litigation)                         §       Case No. 09-cv-1568-F
                                               §       AND RELATED CASES
 This Order Relates To:                        §
        ALL ACTIONS                            §

                ORDER GRANTING IN PART AND DENYING IN PART
                     DEFENDANTS’ MOTIONS TO DISMISS

       Before the Court are the Motions to Dismiss the Consolidated Amended Class Action

Complaint, filed by multiple Defendants. Securities America, Inc., QA3 LLC, QA3 Financial Corp.,

Capital Financial Services, Inc., Capital Financial Holdings, Inc., and Ameriprise Financial, Inc.

filed their motions on February 12, 2010. (Docket nos. 35, 36, 39, 41). On February 16, 2010,

GunnAllen Financial Inc., GunnAllen Holdings Inc., NEXT Financial Holdings Inc., Next Financial

Group Inc. filed their Motion to Dismiss. (Docket no. 43).1 On March 18, 2010, National Securities

Corp. and National Holdings Corp. filed their motion. (Docket no. 62).

       The six motions to dismiss raise related challenges to Plaintiffs Consolidated Amended Class

Action Complaint, and Defendants incorporate the arguments of the primary brief filed by the NEXT

Defendants. As such, Plaintiffs filed an omnibus response in opposition to all Defendants’ motions

to dismiss on March 22, 2010. (Docket no. 65). Also before the Court are Defendants’ reply briefs.

       Having considered the briefing by all parties, the record as a whole, and the applicable law,




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         On May 5, 2010, Plaintiffs dismissed Defendant GunnAllen Financial Inc. after notice
of the entity’s filing of a bankruptcy petition. See Docket nos. 90, 94.

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the Court GRANTS IN PART and DENIES IN PART Defendants’ motions to dismiss.2 The Court

also, as explained herein, ORDERS Plaintiffs to amend their Complaint to cure the deficiencies

explained on or before August 20, 2010. Defendants may challenge the resulting amended

complaint, pursuant to Rule 12, in no more than ten (10) pages. The Court requests that Defendants

file a single brief, but if a single brief is not possible, separate briefs will be permitted. In any event,

the total briefing of all Defendants shall not exceed ten (10) pages.

                                             I. Background

A.      Procedural Background

        Plaintiffs initiated this case on behalf of themselves and others similarly situated on

August 24, 2009, alleging subject matter jurisdiction based upon the Class Action Fairness Act of

2005, 28 U.S.C. § 1332(d)(2). Consol. Am. Class Action Complaint (“Am. Compl.”) ¶ 14. (Docket

no. 22). Pursuant to a joint request for case management order, on November 5, 2009, the Court

consolidated related cases: Joseph Billitteri, et al., v. Securities Am., Inc., et al., No. 3:09-cv-1568,

and Karen L. Bopp, et al., v. Cedar Brook Fin. Partners, et al., No. 3:09-cv-1646. See Case

Management Order. (Docket no. 17). There the Court also provided for the briefing on Defendants’

proposed motions to dismiss. (Docket no. 17, ¶ 16).

        On December 7, 2009, Plaintiffs filed their Consolidated Amended Class Action Complaint

(“Amended Complaint”). (Docket no. 22). At the request of the parties, the Court amended the

Case Management Order with respect to the filing of pleadings responsive to the Amended

Complaint. (Docket no. 31). Defendants filed their Motions to Dismiss the Amended Complaint

as explained above, and subsequent briefing was timely completed.


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            This Order disposes of Docket nos. 35, 36, 39, 41, 43, and 62.

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B.       Consolidated Amended Class Action Complaint

         Plaintiffs allege that Provident Royalties is a Texas-based company that holds oil and gas

working and royalty interests, and that Provident Asset Management, LLC (“PAM”) is a registered

broker-dealer who beginning in September 2006, offered and sold some $485 million of oil and gas

investments through a series of non-publicly-traded offerings. Plaintiffs allege that Provident

Royalties was a beneficial owner in each of the “Provident” or “Shale” entities that were part of the

offerings. Through these offerings, Plaintiffs and would-be class members purchased either

preferred stock or partnership interests with returns payable in monthly dividends or distributions.

Am. Compl. ¶ 1.

         Plaintiffs allege that the offers were made to “accredited” investors pursuant to a Private

Placement Memorandum (“PPM”), and that Plaintiffs paid fees and commissions to PAM and the

Broker Defendants named in this case. Plaintiffs allege the Broker Defendants disseminated

materially false and misleading Private Placement Memoranda to Plaintiffs and breached their

fiduciary duty to Plaintiffs by failing to perform adequate due diligence. Id. ¶ 2. Plaintiffs allege

that the PPM failed to disclose material information, such as: the offering proceeds were allegedly

commingled improperly with funds from other investors of other offerings, the Provident-related

entities allegedly engaged in dozens of undocumented or improper inter-company transfers, the

proceeds of the offerings allegedly were not invested as represented, and that later investors’ funds

were use to pay returns to earlier investors in Provident Securities. The Broker Defendants,

according to Plaintiffs, failed to perform due diligence on the offerings and did not have adequate

procedures in place to review these investments on behalf of Plaintiffs. Id. ¶ 4.

         Plaintiffs allege that Defendants’ scheme began to unravel in 2009, when Provident Royalties


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announced it would not accept new investors, suspended dividend or return payments, and then filed

for Chapter 11 Bankruptcy, along with some twenty-six related companies. Id. ¶¶ 5-6. About the

same time, the SEC filed civil fraud charges against Provident Royalties. See id.

       Primarily, Plaintiffs complain of two groups of Defendants: the broker defendants and the

control person defendants. Other parties are mentioned in the complaint but are not named as parties

to the causes of action stated. Plaintiffs allege that PAM assembled a nation-wide network of

broker-dealers. Plaintiffs contend that the broker defendants agreed to sell Provident Securities

pursuant to a participation agreement they entered into with the managing dealer, PAM. Id. ¶ 34.

The broker defendants include: Capital Financial, National Securities, NEXT, QA3, and Securities

America. The control person defendants include: Ameriprise Financial Inc. (allegedly owning 100%

of Securities America), Capital Financial Holdings Inc. (allegedly owning 100% of Capital

Financial), GunnAllen Holdings Inc. (allegedly owning 75% of GunnAllen),3 National Holdings

Corp. (allegedly owning 75% of National Securities), NEXT Financial Holdings Inc. (allegedly

owning 75% of NEXT), and QA3 LLC (allegedly owning 75% of QA3).

       Plaintiffs explain that Provident Royalties and PAM are not named as defendants due to the

bankruptcy filing and the Bankruptcy Court’s Order Appointing Receiver. The Amended Complaint

alleges in material part that the broker defendants are connected to the alleged fraudulent conduct

of the Provident Royalties affiliated entities because the “Broker Defendants participated in the

drafting, preparation, approval, due diligence and/or dissemination of various materially false and

misleading statements contained in the PPMs issued by the Provident Group [that is, Provident

Management Group, Provident Royalties, PAM, and the Rule 506 Entities, see id. ¶¶ 53, 56-57].


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           Again, GunnAllen was subsequently dismissed from this case and is no longer a party.

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Id. ¶ 64.4

        With respect to the control person defendants, Plaintiffs allege that they directly or indirectly

controlled the broker defendants under Texas law; and as a result of the control person defendants’

ability to control broker management, policies, or transactions, the control person defendants are

jointly and severally liable under § 33(F)(1) of the Texas Securities Act. Id. ¶¶ 141-43.

        The Amended Complaint sets forth three causes of action: (1) a violation of § 33(A)(2) of

the Texas Securities Act, Tex. Rev. Civ. Stat. art. 581-33(A)(2), against the Broker Defendants; (2) a

violation of § 33(F)(1) of the Texas Securities Act, against the Control Person Defendants; and

(3) breach of fiduciary duty against the Broker Defendants. Id. at ¶¶ 135-149.

                            II. Legal Standard For Motion to Dismiss

        When deciding a motion to dismiss pursuant to Rule 12(b)(6), “[t]he ‘court accepts all well-

pleaded facts as true viewing them in the light most favorable to the plaintiff.’” In re Katrina Canal

Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas

Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, __U.S. __, 129 S.Ct. 1937, 1949 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

        “A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. It

follows that “where the well-pleaded facts do not permit the court to infer more than the mere


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         Plaintiffs allege that the broker defendants were paid commissions and fees for selling
the Provident Securities including a “due diligence” fee of 1% of the proceeds, and that the
PPMs explicitly provided for the payment of the due diligence fees. Id. ¶ 2, 10, 64, 68.

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possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’ – ‘that the pleader is

entitled to relief.’” Id. at 1950 (quoting Fed. R. Civ. P. 8(a)(2)).

       When alleging fraud, a party must state with particularity the circumstances constituting

fraud or mistake. Fed. R. Civ. P. 9(b). “What constitutes ‘particularity’ will necessarily differ with

the facts of each case.” Guidry v. Bank of LaPlace, 954 F.2d 278, 288 (5th Cir. 1992). To plead

fraud with particularity, a plaintiff must, at a minimum, allege the “time, place, and contents of the

false representations,” as well as identify the speaker who made the misrepresentation and what that

person obtained thereby.” Shushany v. Allwaste, Inc., 992 F.2d 517, 521 (5th Cir.1993) (quoting

Tel-Phonic Servs, Inc. v. TBS Int’l, Inc., 975 F.2d 1134, 1139 5th Cir. 1992)). In other words, a

plaintiff must set forth the “who, what, when, where, and how” of the alleged fraud. United States

ex rel. Williams v. Bell Helicopter Textron Inc., 417 F.3d 450, 453 (5th Cir. 2005). Further, “general

allegations, which lump all defendants together failing to segregate the alleged wrongdoing of one

from those of another do not meet the requirements of Rule 9(b).” In re Urcarco Sec. Lit., 148

F.R.D. 561, 569 (N.D. Tex. 1993), aff’d, Melder v. Morris, 27 F.3d 1097 (5th Cir. 1994).

                                            III. Analysis

A.     Applicable Law

       1.      Substantive Law

       The parties brief the substantive issues as controlled by the law of the state of Texas, but

Defendant Securities America disputes that Texas law is certainly controlling, arguing that Plaintiffs

are residents of Illinois and Ohio and Securities America is a Nebraska corporation. Securities

America reserves the right to raise the question of controlling law at a later date. However, as to

Plaintiffs’ allegations arising under the Texas Securities Act, Tex. Rev. Civ. Stat. art. 581-33, the


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law of Texas applies. At this stage and based upon the allegations and the parties’ briefing, the

Court applies the law of Texas to Plaintiffs’ claims. See Am. Compl. ¶ 13 (alleging that the “claims

asserted herein arise under the Texas Securities Act and the common law of the State of Texas”).



       2.      Pleading Standard

       Also, the parties dispute whether Rule 9(b) applies to Plaintiffs’ allegations for violation of

the Texas Securities Act and Count Three for breach of fiduciary duty (Counts One and Three).

       First, with respect to the Texas Securities Act, Defendants argue that the allegations are

inherently fraud-based and that Texas has construed the applicable article of the Texas Securities

Act as an “antifraud provision.” Plaintiffs argue that they have explicitly disclaimed fraudulent

intent or scienter. Am. Compl. ¶ 9. Plaintiffs argue that they state no claim for fraud and that Texas

law makes Securities America liable under § 33(A)(2) and for breach of fiduciary duty absent any

allegation of fraud.

       In Texas, heightened pleading is not required for causes of action arising under the Texas

Securities Act. Baxter v. Gardere Wynne Sewell LLP, 182 S.W.3d 460, 464 (Tex. App. - Dallas

2006, petition denied) (citing Tex. R. Civ. P. 45, which is the Texas equivalent of notice pleading).

However, it is well settled that the procedural law of Texas does not govern in this case. The

“Federal Rules of Civil Procedure apply in federal court, ‘irrespective of the source of the subject

matter jurisdiction, and irrespective of whether the substantive law at issue is state or federal.’”

Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009) (internal quotation marks and

citation omitted) (addressing Rule 9(b)’s application to a California substantive claim for which

California law does not require heightened pleading); see also Gasperini v. Ctr. For Humanities,


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Inc., 518 U.S. 415, 428 n.7 (1996) (“it is settled that if the Rule on point is consonant with the Rules

Enabling Act, 28 U.S.C. § 2072, and the Constitution, the Federal Rule applies regardless of

contrary state law”); Ellis v. Weasler Eng’g, Inc., 258 F.3d 326, 337 (5th Cir. 2001) (listing

supporting authorities and addressing Fed. R. Civ. P. 50).

        Plaintiffs argue that because the Texas Securities Act does not provide a fraud-based claim,

there is no reason to apply Rule 9(b) and that Rule 8 should instead govern. In Dorsey v. Portfolio

Equities, Inc., a Fifth Circuit panel affirmed in part and reversed in part the district court’s dismissal

of fraud claims arising under federal and Texas state law. 540 F.3d 333 (5th Cir. 2008). “Both

federal securities claims and state-law fraud claims are subject to the pleading requirements of Rule

9(b).” Id. at 339. The plaintiff’s state law claims included both state common-law fraud, state

statutory fraud, and state securities fraud. Id. at 338. Mr. Dorsey alleged both affirmative false

representations and omissions of material fact. Id. at 341. The district court ultimately dismissed

for failure to state a claim all but one claim. Mr. Dorsey’s appeal sought review only of the

dismissal of his own claims for fraud under the federal securities law and Texas state law. Id. at

338. With respect to Dorsey’s claims for violations of the Texas Securities Act, the panel opinion

implicitly supports the application of Rule 9(b). See id. at 343-44. The Court held that an article

33 claim “‘does not require scienter – i.e., proof that the speaker knew that the representation was

false, or made it without regard to its truth or falsity.’” Id. at 344 (quoting Herrmann Holdings Ltd.

v. Lucent Tech., Inc., 302 F.3d 552, 563 (5th Cir. 2002)). The Court explained, however, that

because he was not required to plead scienter, “and he alleged all of the elements of Texas securities

fraud under the TSA with sufficient particularity, his claims against [the defendant] acting as a seller

. . . should not have been dismissed.” Id.


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       In Kearns, the Ninth Circuit concluded that although fraud was not an element of the state

causes of action, Rule 9(b) nonetheless governed the pleading requirement because the claim was

grounded in fraud. Kearns, 567 F.3d at 1125. There, the plaintiff alleged “a fraudulent course of

conduct” because he alleged that (1) the defendant “misrepresent[s] the benefits of its . . . program

to . . . increase revenue”; and (2) marketing materials misled him to purchase a car covered by the

program with the alleged misrepresentations. Id. at 1126. The plaintiff in Kearns, as here, argued

that these claims were not grounded in fraud because he did not plead fraud. Id. The Ninth Circuit

panel relied upon prior Ninth Circuit law and California law to conclude that merely omitting an

allegation of fraud did not remove the pleading from the application of Rule 9(b). See id.

       This Court is persuaded by the analysis of Dorsey, though the holding is not controlling here.

A plaintiff alleging a violation of “Texas securities fraud under the TSA,” that is, a violation of

article 33 of the TSA, must satisfy the heightened pleading requirements of Rule 9(b), but need not

plead scienter. See Dorsey, 540 F.3d at 343-44. This conclusion is supported by the Dorsey panel’s

additional distinction of aider and abettor liability under the TSA from seller liability under the TSA

on the basis that scienter is required of aider and abettor liability but not of seller liability.

Implicitly, though unstated, both require the heightened pleading standard of Rule 9(b). And, it is

compelling that Dorsey simply states that the “Texas Securities Act . . . creates a cause of action for

securities fraud,” and then proceeds to provide that such claims against sellers of securities are

controlled by article 33(A)(2), the provision alleged by Plaintiffs here. Id. at 343 (emphasis added).5


       5
         Moreover, one Texas court referred to article 33 as the Texas Securities Act’s “fraud
provision.” Aegis Ins. Holding Co., LP v. Gaiser, No. 04-05-00938-CV, 2007 Tex. App. LEXIS
2364, *13 (Tex. App. -- San Antonio Mar. 28, 2007, pet. denied). While the Texas Supreme
Court has long held that the Act’s purpose is to regulate securities’ sales and to protect from
fraud. Flowers v. Dempsey-Tegeler & Co., 472 S.W.2d 112, 115 (Tex. 1971).

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       Finally, although fraudulent intent is neither a element to a cause of action under article 33,

nor alleged by Plaintiffs here, the Amended Complaint is replete with allegations of fraudulent

conduct, including as against Securities America.6 In addition to the applicable law, the allegations

here are “averments of fraud or mistake” sufficient to conclude that Rule 9(b) applies to Plaintiffs’

allegations against Securities America under the Texas Securities Act. Fed. R. Civ. P. 9(b).

Accordingly, Rule 9(b) applies to Plaintiffs’ claims arising under the Texas Securities Act.

       Second, with respect to Count Three’s allegations of breach of fiduciary duty, Securities

America argues that Rule 9(b) applies to the extent that Plaintiffs allege the broker defendants had

a duty to disclose the underlying allegedly fraudulent statements or conduct. Plaintiffs confirm their

allegation for breach of fiduciary duty by the broker defendants and argue that their pleading is

sufficient because the broker defendants were part of a syndicate of brokers who actively solicited

investments in Provident Securities. A portion of the fees received by the brokers for selling

Provident Securities was specifically attributed to due diligence purportedly performed in

connections with the Offerings on behalf of their clients. Plaintiffs also allege that each broker

defendant acted as a fiduciary with respect to the sale of Provident Securities to each named Plaintiff

and class member. See Am. Compl. ¶¶ 2, 9, 27-33, 64-67, 69, 106.

       Rule 9(b) does not apply to the breach of fiduciary duty claim as pleaded against the broker

defendants here because the Texas cause of action is not limited to one arising from fraud. Quite

to the contrary, the cause of action accrues and may be properly stated with far less than pleadings

of fraud. See USPPS, Ltd. v. Avery Dennison Corp., 326 Fed. Appx. 842 (5th Cir. 2009); Laird v.



       6
         The Texas Securities Act defines “fraud” and “fraudulent practice” at Tex. Civ. Stat.
art. 581-4F.

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Integrated Res., 897 F.2d 826, 836 (explaining some differences between breach of fiduciary duty

and a Rule 10b-5 fraud claim and citing Santa Fe Indus., Inc. v. Green, 430 U.S. 462, 476 (1977)).

B.     Count One – Violation of § 33(A)(2) of the Texas Securities Act

       Texas’s Blue Sky Law provides for the civil liability of a “person who offers or sells a

security . . . by means of an untrue statement of a material fact or an omission to state a material

fact.” Tex. Rev. Civ. Stat. art. 581-33(A)(2); Geodyne En. Income Prod. P’ship I-E v. Newton

Corp., 161 S.W.3d 482, 484-85 (Tex. 2005).

       Texas defines “security” to include interests in oil and gas leases. Id. art. 581-4(A);

Geodyne, 161 S.W.3d at 485. “An omission or misrepresentation of fact is ‘material’ if ‘there is a

substantial likelihood that a reasonable investor would consider it important in deciding to invest.’”

Aegis Ins. Holding Co., LP v. Gaiser, No. 04-05-00938-CV, 2007 Tex. App. LEXIS 2364, at *21

(Tex. App. – San Antonio Mar. 28, 2007, pet. denied) (quoting Weatherly v. Deloitte & Touche, 905

S.W.2d 642, 649-50 (Tex. App. – Houston [14th Dist.] 1995, writ dism’d w.o.j.)). An investor need

not show that “but for” the omission or misrepresentation, he would have acted differently; there is

no reliance requirement. Id., at *22 (citing Duperier v. Texas State Bank, 28 S.W.3d 740, 745 (Tex.

App.– Corpus Christi 2000, aff’d as modified)).

       “Where averments of fraud are made in a claim in which fraud is not an element, an

inadequate averment of fraud does not meant that no claim has been stated. The proper route is to

disregard averments of fraud not meeting Rule 9(b)’s standard and then ask whether a claim has

been stated.” Lone Star Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363, 368 (5th Cir. 2001).

However, instead of rewriting such a “deficient complaint,” the court “may dismiss, without

prejudice, placing that responsibility upon counsel.” Id.


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         1.     Failure to Plead Individual Defendant’s Role In Alleged
                Misconduct with Sufficient Specificity

         Plaintiffs argue that they have satisfied the pleading requirements, even under Rule 9(b).

Defendants argue that the pleading is deficient in terms of particularity in the following areas:

underlying fraud or any individual Defendant’s alleged role therein; any misrepresentation or

omission made; alleged misstatements of future performance in the PPMs are not alleged to have

been knowingly false when made.

         Having carefully reviewed the Amended Complaint, the Court agrees with Defendants that

Plaintiffs have failed to sufficiently state a claim against the Broker Defendants under article 33 of

the TSA. Plaintiffs carefully and thoroughly explain the underlying wrongful conduct of the non-

parties now involved in bankruptcy proceedings. But, the allegations of the Amended Complaint

fail to state with sufficient particularity any broker defendant’s role in the described fraud. Although

the Amended Complaint states generally that the Broker Defendants’ were involved in the drafting

of the PPMs, this bare allegation is not enough. Moreover, assuming that the general allegation of

involvement in drafting the allegedly misleading PPMs were sufficient, Plaintiffs have not identified

the conduct of a specific Defendant as required by Rule 9(b).

         In R2 Investments v. Phillips, the Court addressed defendants’ motion to dismiss an

investor’s action against a corporation and officers, alleging violation of federal and state securities

law. No. 3:02-cv-323-N, 2003 WL 22862738 (N.D. Tex. Mar. 26, 2003). Dismissing the investor

plaintiff’s TSA claim, the Court explained that the pleading failed because it did “not allege that

[Defendant] made any untrue statements or omitted any material facts. Id. at *7 (citing Tex. Civ.

Stat. Ann. art. 581-33). “The Texas Securities Act prohibits false statements and material omissions

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in the sale of securities and imposes liability upon sellers, aiders and control persons who offer or

sell securities ‘by means of an untrue statement of a material fact or omission.’” Id. (quoting Tex.

Civ. Stat. Ann. art. 581-33. The R2Investments court dismissed the TSA claim because plaintiff

“failed to identify any false statements or material omissions by” the defendant. Id.

       Plaintiffs counter that Article 581-33 of the TSA holds all sellers “in the chain” liable and

does not require that Defendants make the false or misleading statements. The Court does not read

Texas law so broadly. Even if the TSA permitted such a broad reach, Rule 9(b) requires Plaintiffs

to identify the facts underlying each Broker Defendant’s involvement in the production or drafting

of the allegedly false or misleading PPMs.

       Plaintiffs aver, as follows, the conduct that allegedly violates article 33 of the TSA:

       “the PPMs . . . failed to disclose, among other things, that Offering proceeds were
       commingled improperly with funds received from other investors of the offerings;”
       Am. Compl. ¶ 4.

       “The PPMs contained untrue statements of material facts and omitted to state
       material facts necessary to make the statements made in ¶¶ 74-78, in light of the
       circumstances under which they were made, not misleading;” Am. Compl. ¶ 79.

       “The PPMs did not disclose whether any revenues generated by the Rule 506 Entities
       were used to pay investors, or whether loan proceeds, income generated from
       properties, sales of assets, funds from investors in other Rule 506 Entities or
       commingled funds were used to make distributions;” Am. Compl. ¶ 81.

       Plaintiffs and the Class purchased Provident Securities in the Offerings pursuant to
       the materially untrue statements and omissions of material facts in the PPMs
       disseminated by the Broker defendants.” Am. Compl. ¶ 136.

       The pleading lacks, however, a sufficient connection between the above allegations, and

similar ones throughout the Amended Complaint to the individual Broker Defendant. Specifically,

the Amended Complaint is insufficient under Rules 9(b) and 12(b)(6) when it states in conclusory

fashion that all of the Broker Defendants “participated in the drafting, preparation, approval, due

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diligence and/or dissemination of various materially false and misleading statements.” Am. Compl.

¶ 64.

        In order to survive dismissal, Plaintiffs must connect, with greater specificity, the individual

Broker Defendants to their alleged involvement in the making of the allegedly materially false and

misleading statements. If each Broker Defendant participated in exactly the same way, and

Plaintiffs so allege, then such is not an inappropriate grouping. But as currently drafted, the

Amended Complaint does improperly group the Broker Defendants. The Court cannot distinguish

what conduct is alleged against which Broker Defendant. Thus, the Court cannot “infer more than

the mere possibility of misconduct.” See Iqbal, 129 S. Ct. at 1940. Such a pleading fails to satisfy

Rules 8(a)(2), 9(b) and Rule 12(b)(6).

        As explained above, the Court must accordingly grant in this part Defendants’ motions to

dismiss, but Plaintiffs have requested leave to amend. The Court finds that justice favors an

opportunity to amend the Amended Complaint one final time.

        2.     Whether the Alleged Misstatements of Future Performance Were
               Alleged to Have Been Knowingly False When Made

        In addition to the challenges raised and addressed above, Securities America argues that,

with respect to promises of future fraudulent intent must be alleged with particularity to state a TSA

claim and that it is not alleged at all, let alone with sufficient specificity. Also, Securities America

points to Plaintiffs’ disclaimer of “any allegations of fraudulent intent or scienter by the Broker

Defendants with respect to the claims asserted against them” under the TSA. Am. Compl. ¶ 9.

Securities America concedes that the Amended Complaint broadly alleges that the PPMs contain

misstatements about how funds “will be” or “would be” used, what activities the entity “anticipates”,

“intends to” or “may” do, and what the entity “anticipates” its sources of revenue will be. See Am.

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Compl. ¶¶ 74-78, 90. With respect to these future performance promises, Securities America argues

that Plaintiffs only have a cause of action if the promises were knowingly false at the time they were

made. In addition, according to Securities America, Plaintiffs must adequately allege and ultimately

prove fraudulent intent with respect to these promises. Plaintiffs argue that they have not made

claims based upon promises of future performances but have instead alleged misstatements and

omissions relating to past and present facts, which does not require any allegation of fraudulent

intent.

          Securities America urges that Plaintiffs fail to explain how the relevant statements in the

PPMs that refer to an intent to undertake actions in the future should be considered statements of

present fact, absent fraudulent intent. Plaintiffs, for example, allege that the PPMs contain

misstatements about how much funds “will be” or “would be” used; what activities are

“anticipated;” and what sources of revenues are “anticipated.” Am. Compl. ¶¶ 74-78. The parties

implicitly agree that fraudulent intent is required for a claim of an untrue promise of future

performance. See Dorsey, 540 F.3d at 344; Herrmann Holdings Ltd. v. Lucent Techs., 302 F.3d 552,

564 (5th Cir. 2002). Because Plaintiffs have disclaimed any allegation of fraudulent intent as to

Securities America (see Opposition at 30), the Court agrees with Securities America that Plaintiffs

have not alleged an article 33 claim based upon an untrue promise of future performance as against

Securities America. However, this conclusion does not preclude Plaintiffs from alleging an article

33 action for past or present facts. If Plaintiffs cannot demonstrate how their allegations based upon

futuristic language in the PPMs gives rise to an article 33 claim for past or present conduct, then

their claim will fail. But resolution of the claim, as stated, must await another day. Plaintiffs have

sufficiently pleaded an article 33 claim based on past or present facts alone.


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C.      Count Two – Control Person Liability Under TSA § 33(F)(1)

       The Texas Securities Act holds liable “control persons and aiders.” Tex. Rev. Civ. Stat. art.

581-33(F).

       A person who directly or indirectly controls a seller, buyer, or issuer of a security is
       liable under Section 33A, 33B, or 33C jointly and severally with the seller, buyer,
       or issuer, and to the same extent as if he were the seller, buyer, or issuer, unless the
       controlling person sustains the burden of proof that he did not know, and in the
       exercise of reasonable care could not have known, of the existence of the facts by
       reason of which the liability is alleged to exist.

Id. § 33(F)(1).

       Because the Court dismisses the existing claims under TSA article 33(A) and permits

amendment, the Court declines to address the control person claim that is dependent upon the article

33(A) claim. In amending their article 33(A) claim, Plaintiffs may also amend the related control

person claim arising under article 33(F).

D.      Count Three – Breach of Fiduciary Duty

       In Texas, the “elements of a breach of fiduciary duty claim are: (1) a fiduciary relationship

between the plaintiff and defendant; (2) the defendant must have breached his fiduciary duty to the

plaintiff; and (3) the defendant’s breach must result in injury to the plaintiff or benefit to the

defendant.” Jones v. Blume, 196 S.W.3d 440, 447 (Tex. App. –Dallas 2006, pet. denied). “A

fiduciary relationship may be formal or informal. Fiduciary duties arise as a matter of law in certain

formal relationships.” Id. (citing Meyer v. Cathey, 167 S.W.3d 327, 331 (Tex. 2005)).

       “The relationship between a broker and its customer is that of principal and agent.” Hand

v. Dean Witter Reynolds, Inc., 889 S.W.2d 483, 492-93 (Tex. App.–Houston, aff’d) (citing Magnum

Corp. v. Lehman Bros. Kuhn Loeb, Inc., 794 F.2d 198 (5th Cir. 1986)). “The relationship between

an agent and a principal is a fiduciary one.” Id. at 493 n.5 (citing Hill v. Bache Halsey Stuart Shields

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Inc., 790 F.2d 817, 824 (10th Cir. 1986), quoting Restatement (Second) of Agency § 13 (1958)).

However, it is a narrow fiduciary relationship, beginning with and constrained to the agency. Id.

(citing Hill, 790 F.2d at 824). “The agency relationship between a broker and a customer does not

come into existence until the order has been placed and the broker has consented to execute it.” Id.

at 494; see also Moody v. EMC Servs, Inc., 828 S.W.2d 237, 241 (Tex. App. – Houston [14th Dist.]

1992, writ denied); Republic Bankers Life Ins. Co. v. Wood, 792 S.W.2d 768, 778 (Tex. App. – Fort

Worth 1990, writ denied).

       NEXT Financial Group argues (and by virtue of joining NEXT’s motion, all Defendants

argue) that an alleged violation of a FINRA Rule or NASD rule does not create a private right of

action. See, e.g., Hoxworth v. Blinder, Robinson & Co., 903 F.2d 186, 200 (3d Cir. 1990).

However, the Court does not read the Amended Complaint to rely upon such as a matter of law or

claim, even if such facts are included in the allegations. Rather, Plaintiffs allege a Texas breach of

fiduciary duty claim based upon the Broker Defendants’ involvement in a syndicate who actively

solicited investments in Provident Securities. Am. Compl. ¶ 2, 9, 69, 106. NEXT and the other

Broker Defendants challenge the sufficiency of the allegations under Twombly, 550 U.S. at 555, 570,

and Iqbal 129 S.Ct. at 1949. In general, Plaintiffs allege that all Broker Defendants actively

solicited investments based upon materially false or misleading PPMs in violation of their fiduciary

duties to Plaintiffs. Am. Compl. ¶¶ 74-85.

       More specifically, Plaintiffs allege that Securities America “acted in a fiduciary capacity to

Plaintiffs Kreindel and Billitteri.” See Am. Compl. ¶ 33. But Securities America says this allegation

is insufficient because Plaintiffs fail to aver any factual allegations that plausibly suggest the

existence of a fiduciary duty by Securities America to Plaintiffs Kreindel or Billitteri. Securities


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America argues that both individual Plaintiffs had non-discretionary investment accounts, that is,

one in which the customer must approve all transactions before they are made. Securities America

argues that in the case of such a non-discretionary investment account, a broker’s duty is limited to

executing orders accepted from the customer. See Hand, 889 S.W.2d at 493 n.5.

       In opposition, Plaintiffs argue that the nature of the accounts at issue, as discretionary or non-

discretionary, is a fact issue that cannot be resolved at this stage. Plaintiffs also counter that they

need not plead any special relationship because of the broker’s fiduciary relationship as a matter of

law. Id. at 492-93. The live pleading states that Plaintiffs seek damages for the broker defendants’

breach of their fiduciary duty to perform adequate due diligence. See, e.g., Am. Compl. ¶ 2.

       Plaintiffs have satisfied their burden to plead breach of fiduciary duty, whether or not it may

ultimately be proved. The Court cannot resolve at this stage whether the agreements are subject to

a narrow non-discretionary fiduciary duty or a larger one arising from a broader fiduciary

relationship, despite Defendants’ invitation to conclude that because the pleading does not resolve

the question, Plaintiffs’ claim must be dismissed. Rule 8 and the Supreme Court cases interpreting

it do not require such a result. On this basis, the Court must DENY Defendants’ motions to dismiss

Plaintiffs’ breach of fiduciary duty claim.

                                          IV. Conclusion

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART

Defendants’ Motions to Dismiss. Defendants’ challenge to the sufficiency of Plaintiffs’ claim for

breach of fiduciary duty is DENIED. Defendants’ challenge to Plaintiffs’ claim under § 33(A) is

GRANTED.

       Plaintiffs are granted leave to file a final Amended Complaint to cure the challenges and


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deficiencies discussed herein. Such pleading shall be filed on or before August 27, 2010. As

explained above, Defendants may file a subsequent Rule 12 challenge to the amended complaint,

on or before September 10, 2010. Such motion to dismiss shall not exceed ten pages, whether it

is filed as a single, joint motion by all Defendants or filed as separate motions. Defendants may

refer to arguments made in the motions to dismiss disposed of by this Order.

       It is so Ordered.

       Signed this 26th day of July, 2010.

                                     _______________________
                                     ROYAL FURGESON
                                     SENIOR UNITED STATES DISTRICT JUDGE




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